Case 2:19-cr-20026-GAD-EAS ECF No. 130-1 filed 01/02/20 PagelD.921 Page1of9

Exhibit A
Original correspondence between students and Mr. Karnati
November 2, 2017 (Preshanna Soundararaj)
November 3, 2017 (Shashank Pokala)
December 16, 2017 (Shivabharath Krishna Kamutam)

January 4, 2018 (Tejaswi Panuganti)
Case 229-07 200 SAPS RAQ puend ar Oa Page 2 of 9

Start Time: 11/2/2017 20:07(UTC-4)

Last Activity: 1/31/2018 17:@4(UTC-5)

Participants: 16234148640@s.whatsapp.net Preshanna (+1 (623) 414-8640),
15027759375@s .whatsapp.net Phanideep

From: System Message System Message

Timestamp: 11/2/2017 20:07(UTC-4)

Source App: WhatsApp

Body:

Messages to this chat and calls are now secured with end-to-end encryption. Tap for
more info.

Timestamp: 11/2/2017 20:07(UTC-4)

Source App: WhatsApp

Body:

Hi Phani .. this is is Preshanna Soundararaj

From: 16234148640@s.whatsapp.net Preshanna (+1 (623) 414-8640)
Timestamp: 11/2/2017 20:@8(UTC-4)

Source App: WhatsApp

Body:

H4. to FL

From: 1623414864@@s.whatsapp.net Preshanna (+1 (623) 414-8640)
Timestamp: 11/2/2017 20:08(UTC-4)

Source App: WhatsApp

Body:

Applying for Campbellsville and other universities

From: From: 15027759375@s.whatsapp.net Phanideep (owner)
Timestamp: 11/2/2017 22:14(UTC-4)

Source App: WhatsApp

Body:

Ur email ?

From: From: 15@27759375@s.whatsapp.net Phanideep (owner)

Timestamp: 11/2/2017 22:15(UTC-4)

Source App: WhatsApp

Body:

For Quick: process I developed a portal : https://sobetadmissions.com

** NOTE: DON’T SHARE THIS PORTAL WITH ANY ONE WITHOUT INFORMING ME ee

STEPS:
1) Register as New User

2) As part of registration you will receive an email to your given email (Check
Case 2:19-cr-20026-GAD-EAS ECF No. 130-1 filed 01/02/20 PagelD.923 Page 3 of 9

Hi Phani . Gm. I tried reaching you . Pls call back when free
From: From: 15027759375@s.whatsapp.net Phanideep (owner )
Timestamp: 11/6/2017 13:23(UTC-5)

Source App: WhatsApp

Body:

Sure I iwll call u back !!

Erom: 16234148640@s.whatsapp.net Preshanna (+1 (623) 414-8640)

Timestamp: 11/7/2017 13:34(UTC-5)

Source App: WhatsApp

Body:

Hi phani. I missed your call . Pls call back when you get a chance . I tried calling
back but went to VM

From: 16234148640@s.whatsapp.net Preshanna (+1 (623) 414-8640)

Timestamp: 11/9/2017 21:43(UTC-5)

Source App: WhatsApp

Body:

Hi phani . Pls forward the details of the Farmington and Ottawa universities
From: 162341748640@s.whatsapp.net Preshanna (+1 (623) 414-8640)

Timestamp: 11/9/2017 21:43(UTC-5)

Source App: WhatsApp

Body:

Preshanna.ss@gmail.com

Erom: 16234148640@s.whatsapp.net Preshanna (+1 (623) 414-8640)
Timestamp: 11/14/2017 11.:32(UTC-5) te

Source App: WhatsApp

Body:

Hi phani

From: 16234148640@s .whatsapp.net Preshanna (+1 (623) 414-8648)
Timestamp: 11/14/2017 11:32(UTC-5)

Source App: WhatsApp

Body:

I have forwarded the Farmington appin

From: 16234148640@s.whatsapp.net Preshanna (+1 (623) 414-8640)
Timestamp: 11/14/2017 11.:32(UTC-5)

Source App: WhatsApp

Body:

Pls let.me know once you have reviewed and submitted tot he university.
Erom: 16234148640@s.whatsapp.net Preshanna (+1 (623) 414-8640)
Timestamp: 11/14/2017 11:32(UTC-5)

Source App: WhatsApp

Body:

Also pls let me know if any docnrequired
Case 2:19-cr-20026-GAD-EAs, °C No. Wo ie De QO PagelD.924 Page 4of9
hashank&. PoRala

Start Time: 11/3/2017 @3:22(UTC-4)

Last Activity: 11/3/2017 21:45(UTC-4)

Participants: 1707653287@@s.whatsapp.net Shashank Varma (+1 (707) 653-2878),
15027759375@s .whatsapp.net Phanideep

From: System Message System Message

Timestamp: 11/3/2017 @3:22(UTC-A4)

Source App: WhatsApp

Body:

Messages to this chat and calls are now secured with end-to-end encryption. Tap for
more info.

From: 17076532870@s.whatsapp.net Shashank Varma (+1 (707) 653-2870)
Timestamp: 11/3/2017 @3:22(UTC-4)

Source App: WhatsApp

Body:

Hi bro this is Shashank

Evng matladamu kada

First name: Shashank
Last name: Pokala
_ Email:Shashank4upokala@gmnail.com

From: 17076532870@s.whatsapp.net Shashank Varma (+1 (787) 653-2870)
Timestamp: 11/3/2017 @3:23(UTC-4)
Source App: WhatsApp

Body:

First name: Mukesh Kumar

Last name: Reddypelly

Email:mukeshreddypelly@gmail.com

From: 17076532870@s.whatsapp.net Shashank Varma (+1 (707) 653-2870)
Timestamp: 11/3/2017 13:35(UTC-4)

Source App: WhatsApp

Body:

Bro email pampara checklist

Erom: Erom: 15027759375@s.whatsapp.net Phanideep (owner)

Timestamp: 11/3/2017 13:5@(UTC-4)

Source App: WhatsApp

Body:

Hi

From: 1707653287@@s.whatsapp.net Shashank Varma (+1 (707) 653-2870)
Timestamp: 11/3/2017 13:5@(UTC-4)

Source App: WhatsApp

Body:

Hi bro

From: 17076532870@s.whatsapp.net Shashank Varma (+1 (707) 653-2870)
Timestamp: 11/3/2017 13:5@(UTC-4)
Case 2:19-cr-20026-GAD-EAS ECF No. 130-1 filed 01/02/20 PagelD.925 Page5of9

Source App: WhatsApp
Body:
Email chesta anaru kada

From: From: 15027759375@s.whatsapp.net Phanideep (owner)
Timestamp: 11/3/2017 13:51(UTC-4)

Source App: Wha teapp

Body:

For Campbellsville?

From: 17076532870@s.whatsapp.net Shashank Varma (+1 (707) 653-2870)
Timestamp: 11/3/2017 13:51(UTC-4)

Source App: WhatsApp

Body:

Farmington university

From: From: 15027759375@s.whatsapp.net Phanideep (owner)
Timestamp: 11/3/2017 13:51(UTC-4)

Source App: WhatsApp

Body:

Ok sending it now

From: 17076532870@s.whatsapp.net Shashank Varma (+1 (707) 653-2870)
Timestamp: 11/3/2017 13:51(UTC-4)

Source App: WhatsApp

Body:

Meru aa university bro

Erom: From: 15027759375@s.whatsapp.net Phanideep (owner)

Timestamp: 11/3/2017 14:24(UTC-4)

Source App: WhatsApp

Body:

U got it ?

From: 17076532870@s.whatsapp.net Shashank Varma (+1 (787) 653-2870)
Timestamp: 11/3/2017 14:25(UTC-4)

Source App: WhatsApp

Body:

Yes

From: 17076532870@s.whatsapp.net’ Shashank Varma (+1 (787) 653-2878) .
Timestamp: 11/3/2017 19:14(UTC-4)
Source App: WhatsApp

Body:
Bro meku aditya ani okathanu cal chestadu regarding our admit in farmington

Okkasari athani contact avandi

From: From: 15027759375@s.whatsapp.net Phanideep (owner)
Timestamp: 11/3/2017 21:24(UTC-4)
Source App: WhatsApp
 

FE NO bhor 1 peg P02 (2c. CERIRIRE AR of ROT EES. an

Start Time: 11/20/2017 13:35(UTC-5)

Last Activity: 12/7/2017 ©8:07(UTC-5)

Participants: 15106745363@s.whatsapp. net Shivabharath Krishna (+1 (510) 674-5363),
15027759375@s.whatsapp.net Phanideep

From: 15106745363@s.whatsapp.net Shivabharath Krishna (+1 (510) 674-5363)
Timestamp: 11/20/2017 13:35(UTC-5)

Source App: WhatsApp

Body:

Hi bro

From: System Message System Message

Timestamp: 11/20/2017 13:35(UTC-5)

Source App: WhatsApp

Body:
Messages to this chat and calls are now secured with end-to-end encryption. Tap for
more info.

From: 15106745363@s.whatsapp.net Shivabharath Krishna (41 (510) 674-5363)
Timestamp: 11/20/2017 13:59(UTC-5)

Source App: WhatsApp

Body:

Need ur help for univ admission

From: From: 15027759375@s.whatsapp.net Phanideep (owner)

Timestamp: 11/20/2017 14:@@(UTC-5)

Source App: WhatsApp

Body:

For sure

From: 15106745363@s.whatsapp.net Shivabharath Krishna (+1 (510) 674-5363)
Timestamp: 11/26/2017 14:@@(UTC-5)

Source App: WhatsApp

Body:

Thank you bro for quick response

From: 15106745363@s.whatsapp.net Shivabharath Krishna (+1 (510) 674-5363)
Timestamp: 11/20/2017 14:@1(UTC-5)

Source App: WhatsApp

Body:

Pls guide me

From: 15106745363@s.whatsapp.net Shivabharath Krishna (+1 (510) 674-5363)
Timestamp: 11/20/2017 19:89(UTC-5)
Source App: WhatsApp

Body:
Bro pls let me how to get an admission

Erom: 15106745363@s.whatsapp.net Shivabharath Krishna (+1 (510) 674-5363)
Timestamp: 11/21/2017 @2:17(UTC-5)
Source App: WhatsApp
Case 2:19-cr-20026-GAD-EAS ECF No. 130-1 filed 01/02/20 PagelD.927 Page 7 of9

Body:
Shivabharath krishna kamutam

From: 15106745363@s.whatsapp.net Shivabharath Krishna (+1 (510) 674-5363)
Timestamp: 11/21/2017 @2:18(UTC-5)

Source App: WhatsApp

Body:

Campellsville university and farmington university

From: 15106745363@s. whatsapp.net Shivabharath Krishna (+1 isa) 674-5363)
Timestamp: 11/21/2017 02:18(UTC-5)

Source App: WhatsApp

Body:

Jan 2618

From: 15106745363@s.whatsapp.net Shivabharath Krishna (+1 (510) 674-5363)
Timestamp: 11/21/2017 @3:42(UTC-5)

Source App: WhatsApp

Body:

Kamtamsiva@gmail. com

From: From: 15027759375@s. dha teann. net Phanideep (owner)
Timestamp: 11/22/2017 12:38(UTC-5)

Source App: WhatsApp

Body:

Below is Campbellsville

From: From: 150627759375@s.whatsapp.net Phanideep (owner)

Timestamp: 11/22/2017 12:38(UTC-5)

Source App: WhatsApp

Body:

For Quick: process I developed a portal : https://sobetadmissions.com <422>

** NOTE:- DON?T SHARE THIS PORTAL WITH ANY ONE WITHOUT INFORMING ME **

STEPS: 1) Register as New User 2) Start filling the “Regaional Center Graduate
application” following the steps and Submit 3) Then it would take you to
“Application fee” Link pay $50 4) Let me know once done , I will verify and Submit

to university.

From: From: 15027759375@s.whatsapp.net Phanideep (owner)
Timestamp: 11/22/2017 12:38(UTC-5)

Source App: WhatsApp

Body:

Farmington chekc list to ur email

From: 15106745363@s.whatsapp.net Shivabharath Krishna (+1 (510) 674-5363)
Timestamp: 11/23/2017 16:11(UTC-5)
Source App: WhatsApp

Body:
Bro Campellsville and farmington ki financial dox enta limit chuponchali
ao

   

Case 2:19-cr-20026-GAD-EA {

Nnaqpsstisd oun LEepaIRAeE Pave 89

Start Time: 12/15/2017 23:57(UTC-5)

Last Activity: 12/18/2017 12:47(UTC-5)

Participants: 13046549639@s.whatsapp.net Teju (+1 (304) 654-9639),

15027759375@s .whatsapp.net Phanideep

From: System Message System Message

Timestamp: 12/15/2017 23:57(UTC-5)

Source App: WhatsApp

Body:

Messages to this chat and calls are now secured with end-to-end encryption. Tap for
more info.

From: 13046549639@s.whatsapp.net Teju (+1 (304) 654-9639)
Timestamp: 12/15/2017 23:57(UTC-5)

Source App: WhatsApp

Body:

Hi this is Tejaswi

From: 13046549639@s.whatsapp.net Teju (+1 (304) 654-9639)
Timestamp: 12/15/2017 23:58(UTC-5)

Source App: WhatsApp

Body:

Harsha gave me your contact

From: 13046549639@s.whatsapp.net Teju (+1 (304) 654-9639)

Timestamp: 12/16/2017 @0:@@(UTC-5)

Source App: WhatsApp

Body:

Any update on the admission for Campbellsville and Farmington universities? ?
From: From: 15027759375@s .whatsapp.net Phanideep (owner)

Timestamp: 12/16/2017 15:58(UTC-5)

Source App: WhatsApp

Body:

What is ur full name ?

From: 13046549639@s.whatsapp.net Teju (+1 (304) 654-9639)
Timestamp: 12/16/2017 15:58(UTC-5)

Source App: WhatsApp

Body:

Tejaswi Panuganti

From: From: 15027759375@s.whatsapp.net Phanideep (owner)
Timestamp: 12/16/2017 16:02(UTC-5)

Source App: WhatsApp

Body:

U will get by Monday !

Erom: 13046549639@s.whatsapp.net Teju (+1 (304) 654-9639)
Timestamp: 12/16/2017 16:@2(UTC-5)

Source App: WhatsApp
Case 2:19-cr-20026-GAD-EAS ECF No. 130-1 filed 01/02/20 PagelD.929 Page 9of9

Body:

Ok

From: 13046549639@s.whatsapp.net Teju (+1 (304) 654-9639)
Timestamp: 12/16/2017 16:02(UTC-5)

Source App: WhatsApp

Body:

For both thr universities?

From: From: 15027759375@s.whatsapp.net Phanideep (owner)
Timestamp: 12/16/2017 16:15(UTC-5)

Source App: WhatsApp

Body:

FARMINGTON u will get Monday

From: From: 15027759375@s.whatsapp.net Phanideep (owner)
Timestamp: 12/16/2017 16:17(UTC-5)

Source App: WhatsApp

Body:

T iwll check on Campbellville

From: 13046549639@s.whatsapp.net Teju (+1 (304) 654-9639)
Timestamp: 12/16/2017 16:59(UTC-5)

Source App: WhatsApp

Body:

Ok

From: 13046549639@s.whatsapp.net Teju (+1 (304) 654-9639)
Timestamp: 12/18/2017 12:47(UTC-5)

Source App: WhatsApp

Body:

Hi any information yet ?
